                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  SOUTHERN DIVISION

 CHRIS MALONE,
                                      Plaintiff,

 v.

 STEVEN ANGLE, in his individual and
 official capacity as , Chancellor at the                      Case No. 1:21-CV-00089
 University     of   Tennessee-Chattanooga;
 MARK WHARTON, in his individual and
 official capacity as Vice-Chancellor and
                                                                MOTION FOR ORDER
 Athletic Director at the University of
 Tennessee–Chattanooga;     and     RUSTY                        OF PROTECTION
 WRIGHT, in his individual and official
 capacity as Head Football Coach at the
 University of Tennessee–Chattanooga,

                                      Defendants.


         Counsel for Plaintiff hereby moves the Court for an Order protecting this case from being

 called for trial for the following dates:

         1.   October 20-26, 2022.
         2.   November 18, 2022.
         3.   December 2, 2022.
         4.   January 19- 24, 2023.
         5.   February 3-10, 2023.
         6.   March 17, 2023 – April 2, 2023.

 Counsel for Plaintiff has prearranged personal leave and family vacation scheduled for these dates

 and would need a week upon his return to finalize preparation for trial.

 /s/Douglas A. Churdar______                          /s/ Stephen S. Duggins
 CHURDAR LAW FIRM                                     LAW OFFICE OF STEPHEN S. DUGGINS
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